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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSSTES


MARY SZARKOWSKI,
                                                         C.A. No.:
       Plaintiff,

       v.                                                JURY TRIAL DEMANDED

TAKEDA PHARMACEUTICALS
AMERICA, INC.; TAKEDA
PHARMACEUTICALS U.S.A., INC., (f/k/a
TAKEDA PHARMACEUTICALS NORTH
AMERICA, INC.); TAKEDA
PHARMACEUTICAL COMPANY
LIMITED; TAKEDA CALIFORNIA, INC.
(f/k/a TAKEDA SAN DIEGO, INC.,) and
ELI LILLY AND COMPANY,

       Defendants.




                                         COMPLAINT

       Plaintiff MARY SZARKOWSKI by and through her attorneys NAPOLI SHKOLNIK,

PLLC, bring this action for personal injuries suffered as a proximate result of PLAINTIFF being

prescribed and ingesting the defective and unreasonably dangerous drug Actos™ (pioglitazone),

a prescription medication used to improve blood sugar (glucose) control in adults with Type II

diabetes. Actos, at all times relevant hereto, was manufactured designed, tested, packaged,

labeled, marketed, advertised, distributed, prescribed, and sold by Defendants identified herein.


                                          I.     PARTIES




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         1.      At all times relevant hereto, Plaintiff MARY SZARKOWSKI was a resident and

citizen of the State of Massachusetts.

         1.      Takeda Pharmaceuticals America, Inc. (“Takeda America”) is a Delaware

Corporation, which has its principal place of business at One Takeda Parkway, Deerfield, Illinois

60015.

         2.      Takeda America is a wholly owned subsidiary of Takeda U.S.A.

         3.      Takeda Pharmaceuticals U.S.A., Inc. f/k/a Takeda North America, Inc. (“Takeda

U.S.A.”) is a Delaware corporation, which has its principal place of business at One Takeda

Parkway, Deerfield, Illinois 60015.

         4.      Takeda U.S.A. is a wholly owned subsidiary of Takeda Limited.

         5.      Takeda Pharmaceutical Company Limited (“Takeda Limited”) is a foreign

corporation with its principal place of business located at 1-1, Doshomachi 4-chrome, Chuo-ku,

Osaka, 540-8645, Japan.

         6.      Takeda Limited is the parent company of Takeda U.S.A., and Takeda America is

a wholly owned subsidiary of Takeda U.S.A.

         7.      Takeda America, Takeda U.S.A., and Takeda Limited (collectively, the “Takeda

Defendants”) have conducted business and derived substantial revenue from Massachusetts,

including marketing, disseminating and selling their Actos product in Massachusetts, to patients

like the decedent.

         8.      Takeda America, Takeda U.S.A., and Takeda Limited have derived substantial

revenue from goods and products disseminated and used in the State of Massachusetts, including

the Actos prescription drug product.




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       9.      Takeda America, Takeda U.S.A., and Takeda Limited purposefully placed the

Actos prescription drug product into the stream of commerce and should have reasonably

expected their acts to have consequences within the State of Massachusetts.

       10.     Takeda America, Takeda U.S.A., and Takeda Limited continuously conducted

business in the State of Massachusetts at all times relevant herein.

       11.     The Takeda Defendants promoted, designed, manufactured, and sold the Actos™

prescription drug product in the State of Massachusetts. Plaintiff’s decedent was prescribed the

Actos™ prescription drug in the State of Massachusetts, used the Actos drug in Massachusetts,

was treated for his bladder cancer in Massachusetts

       12.     The Takeda defendants purposefully availed themselves of the benefits of

conducting business in the State of Massachusetts by designing the Actos product and marketing,

promoting, and selling the Actos™ prescription drug to physicians such as Plaintiff’s prescribing

physician and individuals like the Plaintiff.

       13.     Takeda America, Takeda U.S.A., and Takeda Limited expected or should have

expected their acts to have consequences within the State of Massachusetts and derived

substantial revenue from interstate commerce.

       14.     Defendant, Takeda California, Inc., (f/k/a Takeda San Diego, Inc.) is a California

corporation, having a principal place of business at 10410 Science Center Drive, San Diego, CA

92121. As part of its business, Takeda California Inc. is involved in the research, development,

sales and marketing of pharmaceutical products including Actos and Pioglitazone Hydrochloride.

       15.     Takeda California, Inc. is a wholly-owned subsidiary of Takeda North America.

       16.     Takeda California, Inc. has transacted and conducted business within the State of

Massachusetts.

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       17.     Takeda California, Inc. has derived substantial revenue from goods and products

used in the State of Massachusetts. Takeda California, Inc. expected or should have expected

their acts to have consequences within the State of Massachusetts, and derived substantial

revenue from interstate commerce.

       18.     Eli Lilly and Company (“Lilly”) is an Indiana corporation with its principal place

of business located at Lilly Corporate Center, Indianapolis, Indiana 46285.

       19.     Lilly (collectively the “Eli Lilly Defendants”) have transacted and conducted

business within the State of Massachusetts, including marketing, promoting, and selling their

Actos product in Massachusetts, and to patients like the Plaintiff’s decedent and his prescribing

physician.

       20.     Lilly has derived substantial revenue from goods and products disseminated and

used in the State of Massachusetts.

       21.     Lilly purposefully placed the Actos prescription drug product into the stream of

commerce and should have reasonably expected their acts to have consequences within the State

of Massachusetts.

       22.     The Lilly Defendants promoted, designed, manufactured, and sold the Actos™

prescription drug product in the State of Massachusetts, including to Plaintiff and Plaintiff’s

prescribing physician.

       23.     Lilly expected or should have expected their acts to have consequences within the

State of Massachusetts, and derived substantial revenue from interstate commerce.



                              II.     JURISDICTION AND VENUE




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         24.   This Court has personal jurisdiction over the Defendants based on Diversity of

Citizenship pursuant to 28 U.S.C. Section § 1332(a)(1), and the amount in controversy is in

excess of the jurisdictional limit of $75,000.

         25.   At all times relevant hereto, Plaintiff MARY SZARKOWSKI was a resident of

Middlesex County, Massachusetts.

         26.   Takeda Pharmaceuticals America, Inc. (“Takeda America”) is a Delaware

Corporation, which has its principal place of business at One Takeda Parkway, Deerfield, Illinois

60015.

         27.   Takeda America is a wholly owned subsidiary of Takeda U.S.A.

         28.   Takeda Pharmaceuticals U.S.A., Inc. f/k/a Takeda North America, Inc. (“Takeda

U.S.A.”) is a Delaware corporation, which has its principal place of business at One Takeda

Parkway, Deerfield, Illinois 60015.

         29.   Takeda U.S.A. is a wholly owned subsidiary of Takeda Limited.

         30.   Takeda Pharmaceutical Company Limited (“Takeda Limited”) is a foreign

corporation with its principal place of business located at 1-1, Doshomachi 4-chrome, Chuo-ku,

Osaka, 540-8645, Japan.

         31.   Takeda Limited is the parent company of Takeda U.S.A., and Takeda America is

a wholly owned subsidiary of Takeda U.S.A.

         32.   Eli Lilly and Company (“Lilly”) is an Indiana corporation with its principal place

of business located at Lilly Corporate Center, Indianapolis, Indiana 46285.

         33.   Takeda USA, Takeda America, Takeda Limited, and Lilly have all derived

substantial revenue from goods and products disseminated and used in the State of Washington




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through their design, manufacture, marketing, selling, and distributing of the prescription drug,

Actos™.

        34.     The Takeda defendants purposefully availed themselves of the benefits of

conducting business in the State of Washington by designing the Actos product and marketing,

promoting, and selling the Actos™ prescription drug to physicians such as Plaintiff’s prescribing

physician, and plaintiffs themselves.

        35.     Takeda America, Takeda U.S.A., Takeda Limited and Eli Lilly expected or

should have expected their acts to have consequences within the State of Washington and

derived substantial revenue from interstate commerce.

        36.     Jurisdiction over the Defendants is present here as Plaintiffs’ claims arise out of

or relate to at least one of the Defendant’s contacts with the forum, the Defendant purposefully

availed itself of the forum, and exercising jurisdiction over the foreign Defendants does not

violate traditional notions of fair play and substantial justice.

        37.     Venue is proper pursuant to 28 U.S.C. 51391 because the claims made in this

case, specifically, Plaintiff’s prescription and use of the Actos product, her bladder cancer

diagnosis, and the injuries stemming therefrom.

                               III.     FACTUAL BACKGROUND

        38.     Defendants, directly or through their agents, apparent agents, servants or

employees designed, manufactured, marketed, advertised, distributed, promoted and sold

Actos™, for the treatment of Type II diabetes mellitus.

        39.     According to the American Diabetes Association, Type II diabetes is the most

common form of diabetes. Type II diabetes develops when the body does not produce enough

insulin or does not efficiently use the insulin that it does produce. Type I diabetes occurs when

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the body does not produce any insulin at all. Insulin is necessary for the body to be able to use

glucose for energy.

       40.     Actos™ was approved by the Food and Drug Administration (“FDA”) in July of

1999 to treat Type II diabetes.

       41.     Actos was jointly launched by Takeda North America and Lilly in 1999.

       42.     Actos™ is in a class of insulin-sensitizing diabetes agents known as

thiazolidinediones (“TZDs”).

       43.     On April 20, 2006, Takeda Limited announced the conclusion of its collaboration

in the United States between Takeda North America and Lilly to promote and market Actos.

       44.      Takeda Limited described this partnership as “a great success” and “mutually

beneficial to both companies.”

       45.     Actos™ exerts its antihyperglycemic effect only in the presence of endogenous

insulin. Therefore, Actos™ is only used to treat Type II diabetes and should not be used to treat

Type I diabetes.

       46.     Actos™ is also sold in combination with metformin (Actoplus Met, Actoplus Met

XR) and in combination with glimepiride (Duetact).

       47.     As a result of the defective nature of Actos™, persons who were prescribed and

ingested Actos™ for more than twelve months, including Plaintiff, were at increased risk for

developing bladder cancer, have suffered and may continue to suffer from bladder cancer.

       48.     As a result of the defective nature of Actos™, persons who were prescribed and

ingested Actos™ for more than twelve months, including Plaintiff, developed bladder cancer,

have suffered and may continue to suffer from bladder cancer.




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       49.       Defendants concealed their knowledge that Actos™ can cause bladder cancer

from Plaintiff, other consumers, and the medical community.

       50.       Specifically, Defendants did not adequately inform consumers and the prescribing

medical community about the risks of bladder cancer associated with the use of Actos™ for

more than twelve months.

       51.       As a result of Defendants’ actions and inactions, Plaintiff was injured due to

ingestion of Actos™, which caused and will continue to cause Plaintiff various injuries and

damages. Plaintiff accordingly seeks damages associated with these injuries.

       52.       Prior to Actos™ being approved by the FDA, a two-year carcinogenicity study

was conducted on male and female rats. Drug-induced tumors were observed in male rats

receiving doses of Actos™ that produced blood drug levels equivalent to those resulting from a

clinical dose.

       53.       In 2005, the results of the PROactive (PROspective PioglitAzone Clinical Trial In

MacroVascular Events) three-year study were published. PROactive prospectively looked at the

impact in total mortality and macrovascular morbidity using Actos™. Dormandy J.A., et al.

Secondary Prevention of Macrovascular Events in Patients with Type II Diabetes in the

PROactive Study (PROspective PioglitAzone Clinical Trial In MacroVascular Events): a

Randomised Controlled Trial, Lancet, 266:1279-1286 (2005) (the “Dormandy paper”).

       54.       The PROactive study was looking at cardiovascular events and outcomes.

       55.       During the course of monitoring the study, the researchers and Defendants

became aware that there was a statistically significant demonstrated higher percentage of bladder

cancer cases in patients receiving Actos™ versus comparators.




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       56.     Neither during the study, nor in the actual final Dormandy paper, did the

researchers or the Defendants publish these statistically significant increases of bladder cancer.

       57.     This information was not included in the published Dormandy paper.

       58.     Defendants willfully, wantonly and with malice withheld the knowledge of

increased risk of cancer in users of Actos™ to prevent any chances of its products’ registrations

being delayed or rejected by FDA.

       59.     A three-year liver safety study was also performed, and according to the FDA,

that study also demonstrated a higher percentage of bladder cancer cases in patients receiving

Actos™ versus comparators.

       60.     On September 17, 2010, the FDA issued a Safety Announcement stating it was

undertaking a review of the data from an ongoing, ten-year epidemiological study being

conducted by Kaiser Permanente to evaluate the association between Actos™ and bladder

cancer. The planned five-year interim analysis demonstrated that the risk of bladder cancer

increases with increasing dose and duration of Actos™ use, reaching statistical significance after

24 months.

       61.     Despite FDA finding that Actos™ is linked to a statistically significant increase in

the risk for developing bladder cancer, Robert Spanheimer, Vice President of Medical and

Scientific Affairs for Takeda, claimed to Reuters that the Kaiser Permanente study has not shown

a risk to patients of bladder cancer or other cancers from Actos™.

       62.     In early 2011, the American Diabetes Association published Piccinni, et al.

Assessing the Association of Pioglitazone Use and Bladder Cancer Through Drug Adverse Event

Reporting, Diabetes Care, 34:1369-1371 (June 2011), published ahead of print April 22, 2011.

This study looked at adverse events reports made to the FDA between 2004 and 2009. The

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conclusion of that study was that “[i]n agreement with preclinical and clinical studies, AERS

analysis is consistent with an association between pioglitazone and bladder cancer. This issue

needs constant epidemiologic surveillance and urgent definition by more specific studies.”

       63.     On June 9, 2011, the European Medicines Agency announced that it had been

informed by the French Medicines Agency of its decision to suspend the use of pioglitazone

containing medicines (Actos™, Competact) in France while awaiting the outcome of the ongoing

European review.

       64.     France’s decision was based upon a retrospective cohort study in France using the

French National Health Insurance Plan, which demonstrated a statistically significant increase in

the risk for bladder cancer in males exposed to Actos™ for more than a year. The French cohort

included 1.5 million patients with diabetes that were followed for 4 years (2006-2009).

       65.     On June 10, 2011, Reuters published that Germany had joined France in

suspending the use of Actos™ after Germany’s Federal Institute for Drugs and Medical Devices.

(“BfArM”) reviewed the results of the French study. BfArM recommended that doctors should

not put new patients on pioglitazone.

       66.     On June 15, 2011, the FDA issued another Safety Announcement stating that “use

of the diabetes medication Actos™ (pioglitazone) for more than one year may be associated with

an increased risk of bladder cancer.” The FDA ordered information about this risk to be added to

the Warnings and Precautions section of the label for pioglitazone-containing medicines.

       67.     The FDA reported that the risk of bladder cancer increased with increasing dose

and duration of pioglitazone use. When compared to persons never exposed to pioglitazone,

exposure to pioglitazone therapy for longer than 12 months was associated with a 40% increase

in risk. Based on this data, the FDA calculated that therapy with Actos™ for longer than 12

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months was associated with 27.5 excess cases of bladder cancer per 100,000 person-years

follow-up, compared to those who never used pioglitazone.

        68.     On July 12, 2011, Takeda Limited issued a recall on Actos™ in France.

        69.     Following the recall in France, Takeda Limited refused to issue a recall of

Actos™ in the United States thereby continuing to subject American citizens to the significant

risk of developing bladder cancer while ensuring the users in France and Germany were no

longer subject to this risk.

        70.     As the manufacturers and distributors of Actos™, Defendants knew or should

have known that Actos™ use for longer than twelve months was associated with bladder cancer.

        71.     With the knowledge of the true relationship between long-term use of Actos™

and developing bladder cancer, rather than take steps to pull the drug off the market, Defendants

promoted Actos™ as a safe and effective treatment for Type II diabetes.

        72.     Piccinni, et al. analyzed the association between antidiabetic drugs and bladder

cancer by reviewing reports from the FDA Adverse Event Reporting System between 2004 and

2009. The association was analyzed by the case/noncase methodology. There were 31 recorded

reports of bladder cancer in patients using pioglitazone. Piccinni’s results indicated that the

reporting odds ratio for pioglitazone was indicative of a “definite risk.”       Piccinni, et al.

Assessing the Association of Pioglitazone Use and Bladder Cancer Through Drug Adverse Event

Reporting, Diabetes Care, 34:1369-1371 (June 2011), published ahead of print April 22, 2011.

        73.     Despite their knowledge of this dangerous side effect that can result from Actos™

use, Defendants refused to warn patients, physicians and the medical community about the risk

of bladder cancer.




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       74.     Actos™ is one of Defendants’ top selling drugs. Upon information and belief, in

the last year, the medication had global sales of $4.8 billion and accounted for approximately

27% of Takeda’s revenue.

       75.     In 2008, with the knowledge of the risk associated with developing bladder cancer

while using Actos™ long term, Takeda Limited achieved its marketing goal by making Actos™

the tenth best-selling medication in the United States all while placing American citizens at risk

of developing bladder cancer.

       76.     Consumers, including Plaintiff, who have used Actos™ for treatment of Type II

diabetes, have several alternative safer products available to treat the conditions and have not

been adequately warned about the significant risks and lack of benefits associated with long-term

Actos™ therapy.

       77.     Defendants, through their affirmative misrepresentations and omissions, actively

concealed from Plaintiff and her physicians the true and significant risks associated with long-

term Actos™ use.

       78.     As a result of Defendants’ actions, Plaintiff and her physicians were unaware, and

could not have reasonably known or have learned through reasonable diligence, that Plaintiff had

been exposed to the risks identified in this Complaint, and that those risks were the direct and

proximate result of Defendants’ conduct.

                                IV.   NATURE OF THE CASE

       79.     In or around 2007, Plaintiff MARY SZARKOWSKI was prescribed and began

taking Actos™ upon direction of her physician for long-term maintenance of Type II diabetes.

Subsequently, as a direct result of ingestion of Actos™, Plaintiff was diagnosed with bladder




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cancer in or around February 2017. Plaintiff MARY SZARKOWSKI ceased using Actos™ in or

around January 2010.

          80.   As a direct result of being prescribed Actos™ for many years, Plaintiff MARY

SZARKOWSKI has been permanently and severely injured, having suffered serious

consequences from long-term Actos™ use.

          81.   Plaintiff MARY SZARKOWSKI requires and will in the future require ongoing

medical care and treatment.

          82.   Plaintiff MARY SZARKOWSKI, as a direct and proximate result of long-term

Actos™ use, suffered severe mental and physical pain and suffering and has and will sustain

permanent injuries and emotional distress, along with economic loss due to medical expenses,

and living-related expenses due to her new lifestyle.

          83.   Plaintiff MARY SZARKOWSKI would not have used Actos™ had Defendants

properly disclosed the risks associated with its long-term use.

                       FIRST CAUSE OF ACTION
   (STRICT PRODUCTS LIABILITY - AS AGAINST THE TAKEDA DEFENDANTS)


          84.   Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.

          85.   At all times relevant hereto, the Takeda Defendants manufactured, designed,

distributed, marketed, promoted, and/or sold Actos™.

          86.   At all times relevant hereto, the dangerous propensities of Actos™ were known to

the Takeda Defendants, or reasonably and scientifically knowable to them, through appropriate

research and testing by known methods, at the time they distributed, supplied, or sold their




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respective products, and not known to ordinary physicians who would be expected to prescribe

the drug for their patients.

        87.      The Actos™ prescription drug product as distributed by the Takeda Defendants

was defective and unreasonably dangerous, as Takeda failed to provide appropriate and adequate

warnings and instructions to render the products reasonably safe for their ordinary, intended, and

reasonably foreseeable uses; in particular – the common, foreseeable and intended use of

Actos™ therapy as long-term maintenance for Type II diabetes.

        88.      Takeda failed to provide an adequate warning to the members of the medical

community lawfully authorized to prescribe, dispense, and administer prescription drugs, which

includes Plaintiffs’ physician.

        89.      As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a

personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

        WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

        a.       For a money judgment representing all pain and suffering and wrongful death

damages;

        b.       For a money judgment representing all lost wages and all economic loss;

        c.       For a money judgment representing prejudgment interest;

        d.       For such other and further relief as may be just and proper.




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                      SECOND CAUSE OF ACTION
  (STRICT PRODUCTS LIABILITY - AS AGAINST THE ELI LILLY DEFENDANTS)


39.             Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.

          40.   At all times relevant hereto, the Eli Lilly Defendants marketed, promoted, and/or

sold Actos™ throughout the United States.

          41.   At all times relevant hereto, the dangerous propensities of Actos™ were known to

the Eli Lilly Defendants, or reasonably and scientifically knowable to them, through appropriate

research and testing by known methods, at the time they marketed, promoted, or sold their

respective products, and not known to ordinary physicians who would be expected to prescribe

the drug for their patients. Eli Lilly was aware or should have been of the concealed risks of

Actos, including bladder cancer, but undertook an aggressive marketing campaign which

continued to conceal these risks nonetheless.

          42.   The Actos™ products as marketed, promoted and by Eli Lilly were defective and

unreasonably dangerous prescription drug products, as Eli Lilly failed to provide appropriate and

adequate warnings and instructions to render the products reasonably safe for their ordinary,

intended, and reasonably foreseeable uses; in particular – the common, foreseeable and intended

use of Actos™ therapy as long-term maintenance for Type II diabetes.

          43.   Eli Lilly failed to provide an adequate warning to the members of the medical

community lawfully authorized to prescribe, dispense, and administer prescription drugs, which

includes Plaintiffs’ physician.

          44.   As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a


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personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

          WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

          a.       For a money judgment representing all pain and suffering and wrongful death

damages;

          b.       For a money judgment representing all lost wages and all economic loss;

          c.       For a money judgment representing prejudgment interest;

          d.       For such other and further relief as may be just and proper.

                      THIRD CAUSE OF ACTION
(STRICT PRODUCTS LIABILITY – DESIGN DEFECT - AS AGAINST THE TAKEDA
                           DEFENDANTS)


          45.      Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.

           46.     The Takeda Defendants are strictly liable due to the following acts or omissions

relating to their failure to properly design the Actos product:

                   a.     Manufacturing, producing, promoting, formulating, creating, developing,
                          designing, selling, and distributing Actos™ without thorough and
                          adequate pre and post-market testing of the product;

                   b.     Manufacturing, producing, promoting, advertising, formulating, creating,
                          developing, and designing, and distributing Actos™ while negligently and
                          intentionally concealing and failing to disclose clinical data which
                          demonstrated the risk of serious harm associated with the use of Actos™;

                   c.     Failing to undertake sufficient studies and conduct necessary tests to
                          determine whether or not Actos™ was safe for its intended use;

                   d.     Failing to disclose and warn of the product defect to the regulatory
                          agencies, the medical community, and consumers that Defendants knew
                          and had reason to know that Actos™ was indeed unreasonably unsafe and
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          unfit for use by reason of the product’s defect and risk of harm to its users
          in the form of, but not limited to, the development of bladder cancer;

    e.    Failing to warn Plaintiff, the medical and healthcare community, and
          consumers that the product’s risk of harm was unreasonable and that there
          were safer and effective alternative Type II diabetic medications available
          to Plaintiff and other consumers;

    f.    Failing to provide adequate instructions, guidelines, and safety precautions
          to those persons to whom it was reasonably foreseeable would prescribe,
          use, and consume Actos™;

    g.    Advertising, marketing, and recommending the use of Actos™, while
          concealing and failing to disclose or warn of the dangers known by
          Defendants to be connected with, and inherent in, the use of Actos™;

    h.    Representing that Actos™ was safe for its intended use when in fact
          Defendants knew and should have known the product was not safe for its
          intended purpose;

    i.    Failing to disclose to and inform the medical community and consumers
          that other forms of safer and effective alternative Type II diabetic
          medications were available for use for the purpose for which Actos™ was
          manufactured;

    j.    Continuing to manufacture and sell Actos™ with the knowledge that
          Actos™ was unreasonably unsafe and dangerous;

    k.    Failing to use reasonable and prudent care in the design, research,
          manufacture, and development of Actos™ so as to avoid the risk of
          serious harm associated with the use of Actos™;

    l.    Failing to design and manufacture Actos™ so as to ensure the drug was at
          least as safe and effective as other Type II diabetic medications;

    m.    Failing to ensure the product was accompanied by proper and accurate
          warnings about possible adverse side effects associated with the use of
          Actos™ and that use of Actos™ created a high risk of developing bladder
          cancer;

    n.    Failing to conduct adequate testing, including pre-clinical and clinical
          testing, and post-marketing surveillance to determine the safety of
          Actos™.




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       47.      As a result of the foregoing acts and omissions, Plaintiff was caused to

suffer serious and dangerous side effects including but not limited to, bladder cancer and death,

as well as other severe and personal injuries as well as physical pain and mental anguish, and

diminished enjoyment of life, and financial expenses for hospitalization and medical care.

       48.      The Takeda Defendants’ conduct, as described above, was extreme and

outrageous. The Takeda Defendants’ risked the lives of the consumers and users of their

products, including Plaintiff, with knowledge of the safety and efficacy problems and

suppressed this knowledge from the general public regarding the true risks of bladder cancer in

Actos user populations.

       49.      The Takeda Defendants made conscious decisions not to redesign, re-label, warn

or inform the unsuspecting consuming public of the risks relating to Actos.

       50.      For these reasons, the Takeda Defendants are strictly liable to Plaintiff's under

applicable products liability law without regard to proof of negligence and gross negligence.

       51.      As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a

personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

       WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

       a.       For a money judgment representing all pain and suffering and wrongful death

damages;

       b.       For a money judgment representing all lost wages and all economic loss;

       c.       For a money judgment representing prejudgment interest;

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          d.      For such other and further relief as may be just and proper.


                               FOURTH CAUSE OF ACTION
                (FAILURE TO WARN - AS AGAINST THE TAKEDA DEFENDANTS)

          52.     Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.

          53.     The Takeda Defendants are strictly liable for Plaintiff’s injuries in the following

ways in which they failed to adequately warn of the known dangers of Actos. Specifically, the

Takeda defendants:

                  a. failed to investigate, research, study, and define, fully and
                     adequately, the safety profile of Actos;

                  b. failed to provide adequate warnings about the true safety risks
                     associated with the use of Actos;

                  c. failed to provide adequate warning regarding the risk and/or increased
                     risk of bladder cancer in patients using Actos;

                  d. failed to include a “BOXED WARNING” about the risk and/or
                     increased risk of bladder cancer in patients using Actos;

                  e. failed to include a “BOLDED WARNNG” the risk and/or increased
                     risk of bladder cancer in patients using Actos

                  f. Failed to indicate that current, post-FDA approval signal data shows a
                      much high risk for bladder cancer to occur than indicated in clinical
                      studies;

                  g. Failed to indicate the true level of increased risk of bladder cancer
                      occurrence when using Actos, even with the warning Takeda did
                      provide;

                  h. Failed to include a “BOXED WARNING” about the risk and/or
                     increased risk of bladder cancer in patients using Actos, even after the
                     10-year cohort study was completed

                  i. Failed to communicate to the FDA, Plaintiff, physicians, distributors,
                     pharmacists, and/ or the general public that the use of this drug could
                     cause serious injury and/or death

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        54.    By reason of the foregoing, Takeda has become strictly liable in tort to the

Plaintiffs for the marketing, promoting, distribution, and selling of a defective product, Actos,

which the Takeda Defendants placed on the market without adequate warnings. The Takeda

Defendants breached their duties by failing to provide a reasonably safe pharmaceutical and

adequately warn of same. By virtue of the foregoing, the Takeda defendants are jointly and

severally liable for Plaintiff’s injuries.

        55.     A manufacturer exercising reasonable care would have updated its warnings on

the basis of reports of injuries to individuals using Actos after FDA approval.

        56.     Even in December 2016 at the end of the 10-year cohort study which determined

that Actos can cause bladder cancer, Takeda failed to update its warning to sufficiently reflect

the acute risk of bladder cancer when Actos is used.

        57.     Indeed, throughout the entire lifetime of the Actos product, from 1999 to the

current day, the Takeda Defendants failed to update warnings based on information received

from product surveillance after Actos was first approved by the FDA and marketed, sold, and

used in the United States and throughout the world.

        58.     Takeda failed to do so because it wished to protect one of its most profitable

products.

        59.     Plaintiff used Actos for its approved purpose and in a manner normally intended

and reasonably foreseeable by the Takeda Defendants.

        60.     Plaintiff’s healthcare providers could not, by the exercise of reasonable care,

have discovered the defects or perceived their danger because the risks were not open or

obvious.


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       61.     The Takeda Defendants, as the manufacturers and distributors of Actos, are held

to the level of knowledge of an expert in the field.

       62.     The warnings that were given by the Takeda Defendants were not accurate or

clear, and further, were false and ambiguous.

       63.     The warnings that were given by the Takeda Defendants failed to properly warn

physicians of the risks associated with Actos, subjecting Plaintiffs to risks that exceeded the

benefits to the Plaintiffs. Plaintiffs, individually and through their physicians, reasonably relied

upon the skill, superior knowledge and judgment of the Defendants.

       64.     Takeda Defendants had a continuing duty to warn Plaintiffs and their prescriber

of the heightened dangers and inaccurate data associated with its product.

       65.     Takeda Defendants’ inadequate warnings of Actos were acts that amount to

willful, wanton, and/or reckless conduct by the Takeda Defendants.

       66.     These aforementioned warning defects in Takeda Defendants’ drug Actos were a

proximate cause of Plaintiff’s injuries.

       67.     As a result of the foregoing acts and omissions, Plaintiff was caused to

suffer serious and dangerous side effects including but not limited to, bladder cancer and death,

as well as other severe and personal injuries as well as physical pain and mental anguish, and

diminished enjoyment of life, and financial expenses for hospitalization and medical care.

       68.     Defendants’ conduct, as described above, was extreme and outrageous.

Defendant’s risked the lives of the consumers and users of their products, including Plaintiff,

with knowledge of the safety and efficacy problems and suppressed this knowledge from the

general public regarding the true risks of bladder cancer in Actos user populations. Defendants

made conscious decisions not to redesign, re-label, warn or inform the unsuspecting consuming

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public, FDA, physicians, distributors and/or pharmacists.

          69.      As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a

personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

          WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

          a.       For a money judgment representing all pain and suffering and wrongful death

damages;

          b.       For a money judgment representing all lost wages and all economic loss;

          c.       For a money judgment representing prejudgment interest;

          d.       For such other and further relief as may be just and proper.


                               FIFTH CAUSE OF ACTION
                 (FAILURE TO WARN - AS AGAINST THE ELI LILLY DEFENDANTS)

          70.      Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.

          71.      The Eli Lilly Defendants are strictly liable for Plaintiff’s injuries in the

following ways in which they failed to adequately warn of the known dangers of Actos.

Specifically, Eli Lilly:

                   a. failed to investigate, research, study, and define, fully and
                      adequately, the safety profile of Actos;

                   b. failed to provide adequate warnings about the true safety risks
                      associated with the use of Actos;

                    c. failed to provide adequate warning regarding the risk and/or increased
                       risk of bladder cancer in patients using Actos;

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                d. Failed to indicate that current, post-FDA approval signal data shows a
                    much high risk for bladder cancer to occur than indicated in clinical
                    studies in its marketing and promotional materials ;

                e. Failed to indicate the true level of increased risk of bladder cancer
                    occurrence when using Actos, even with the warning Takeda did
                    provide in its marketing and promotional materials ;

                f. Failed to include a “BOXED WARNING” about the risk and/or
                    increased risk of bladder cancer in patients using Actos, even after the
                    10 year cohort study was completed;

                g. Failed to communicate to the FDA, Plaintiff, physicians, distributors,
                   pharmacists, and/ or the general public that the use of this drug could cause
                   serious injury and/or death

        72.    By reason of the foregoing, Eli Lilly has become strictly liable in tort to the

Plaintiffs for the marketing, promoting, distribution, and selling of a defective product, Actos,

which the Eli Lilly Defendants marketed and promoted in concert with Takeda without

adequate warnings. T h e Eli Lilly Defendants breached their duties by failing to provide a

reasonably safe pharmaceutical and adequately warn of same. By virtue of the foregoing, the

Eli Lilly defendants are jointly and severally liable for Plaintiff’s injuries.

        73.     A manufacturer exercising reasonable care would have updated its warnings

based on reports of injuries to individuals using Actos after FDA approval.

        74.     Indeed, throughout the entire lifetime of the Actos product, the Eli Lilly

Defendants failed to update warnings based on information received from product surveillance

after Actos was first approved by the FDA and marketed, sold, and used in the United States

and throughout the world.

        75.     Eli Lilly failed to update its marketing or promotional materials as well.

        76.     Eli Lilly failed to do so because it wished to protect one of its most profitable


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products.

       77.      Plaintiff used Actos for its approved purpose and in a manner normally intended

and reasonably foreseeable by the Takeda Defendants.

       78.      Plaintiffs’ healthcare providers could not, by the exercise of reasonable care,

have discovered the defects or perceived their danger because the risks were not open or

obvious.

       79.      The Takeda Defendants, as the manufacturers and distributors of Actos, are held

to the level of knowledge of an expert in the field.

       80.      The warnings that were given by the Takeda Defendants were not accurate or

clear, and further, were false and ambiguous.

       81.      The warnings that were given by the Defendants failed to properly warn

physicians of the risks associated with Actos, subjecting Plaintiffs to risks that exceeded the

benefits to the Plaintiffs. Plaintiffs, individually and through their physicians, reasonably relied

upon the skill, superior knowledge and judgment of the Defendants.

       82.      Defendants had a continuing duty to warn Plaintiffs and their prescriber of the

heightened dangers and inaccurate data associated with its product.

       83.      Defendants’ inadequate warnings of Actos were acts that amount to willful,

wanton, and/or reckless conduct by Defendants.

       84.      These aforementioned warning defects in Defendants’ drug Actos were a

proximate cause of Plaintiff’s injuries.

       85.      As a result of the foregoing acts and omissions, Plaintiff was caused to

suffer serious and dangerous side effects including but not limited to, life-threatening bleeding,

as well as other severe and personal injuries as well as physical pain and mental anguish, and

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diminished enjoyment of life, and financial expenses for hospitalization and medical care.

          86.      The Eli Lilly Defendants’ conduct, as described above, was extreme and

outrageous. Eli Lilly risked the lives of the consumers and users of their products, including

Plaintiff, with knowledge of the safety and efficacy problems and suppressed this knowledge

from the general public regarding the true risks of bladder cancer in Actos user populations. Eli

Lilly made conscious decisions not to redesign, re-label, warn or inform the unsuspecting

consuming public, FDA, Plaintiff, physicians, distributors, and/or pharmacists.

          87.      As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a

personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

          WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

          a.       For a money judgment representing all pain and suffering and wrongful death

damages;

          b.       For a money judgment representing all lost wages and all economic loss;

          c.       For a money judgment representing prejudgment interest;

          d.       For such other and further relief as may be just and proper.

                               SIXTH CAUSE OF ACTION
                  (NEGLIGENCE - AS AGAINST THE TAKEDA DEFENDANTS)


          88.      Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.




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       89.     At all times relevant hereto, it was the duty of the Takeda Defendants to use

reasonable care in the manufacturing, design, distribution, and/or sale of the aforesaid Actos™.

       90.     In disregard of its aforesaid duty, the Takeda Defendants were guilty of one or

more of the following negligent acts or omissions:

                     a.      Manufacturing, producing, promoting, formulating, creating,
       developing, designing, selling, and distributing Actos™ without thorough and adequate
       pre and post-market testing of the product;

               b.     Manufacturing, producing, promoting, advertising, formulating, creating,
                      developing, and designing, and distributing Actos™ while negligently and
                      intentionally concealing and failing to disclose clinical data which
                      demonstrated the risk of serious harm associated with the use of Actos™;

               c.     Failing to undertake sufficient studies and conduct necessary tests to
                      determine whether or not Actos™ was safe for its intended use;

               d.     Failing to disclose and warn of the product defect to the regulatory
                      agencies, the medical community, and consumers that Defendants knew
                      and had reason to know that Actos™ was indeed unreasonably unsafe and
                      unfit for use by reason of the product’s defect and risk of harm to its users
                      in the form of, but not limited to, the development of bladder cancer;

               e.     Failing to warn Plaintiff, the medical and healthcare community, and
                      consumers that the product’s risk of harm was unreasonable and that there
                      were safer and effective alternative Type II diabetic medications available
                      to Plaintiff and other consumers;

               f.     Failing to provide adequate instructions, guidelines, and safety precautions
                      to those persons to whom it was reasonably foreseeable would prescribe,
                      use, and consume Actos™;

               g.     Advertising, marketing, and recommending the use of Actos™, while
                      concealing and failing to disclose or warn of the dangers known by
                      Defendants to be connected with, and inherent in, the use of Actos™;

               h.     Representing that Actos™ was safe for its intended use when in fact
                      Defendants knew and should have known the product was not safe for its
                      intended purpose;

               i.     Failing to disclose to and inform the medical community and consumers
                      that other forms of safer and effective alternative Type II diabetic

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                       medications were available for use for the purpose for which Actos™ was
                       manufactured;

                j.     Continuing to manufacture and sell Actos™ with the knowledge that
                       Actos™ was unreasonably unsafe and dangerous;

                k.     Failing to use reasonable and prudent care in the design, research,
                       manufacture, and development of Actos™ so as to avoid the risk of
                       serious harm associated with the use of Actos™;

                l.     Failing to design and manufacture Actos™ so as to ensure the drug was at
                       least as safe and effective as other Type II diabetic medications;

                m.     Failing to ensure the product was accompanied by proper and accurate
                       warnings about possible adverse side effects associated with the use of
                       Actos™ and that use of Actos™ created a high risk of developing bladder
                       cancer;

                n.     Failing to conduct adequate testing, including pre-clinical and clinical
                       testing, and post-marketing surveillance to determine the safety of
                       Actos™.

                o.     Failing to communicate to the FDA, Plaintiff, physicians, distributors,
                       pharmacists, and/ or the general public that the use of this drug could
                       cause serious injury and/or death



       91.      As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a

personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

       WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

       a.       For a money judgment representing all pain and suffering and wrongful death

damages;

       b.       For a money judgment representing all lost wages and all economic loss;


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          c.       For a money judgment representing prejudgment interest;

          d.       For such other and further relief as may be just and proper.


                                   SEVENTH CAUSE OF ACTION

                 (NEGLIGENCE - AS AGAINST THE ELI LILLY DEFENDANTS)


          92.      Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.

          93.      At all times relevant hereto, it was the duty of the Eli Lilly Defendants to use

reasonable care in the manufacturing, design, distribution, and/or sale of the aforesaid Actos™.

          94.      In disregard of its aforesaid duty, the Eli Lilly Defendants were guilty of one or

more of the following negligent acts or omissions:

                   a.     Manufacturing, producing, promoting, formulating, creating, developing,
                          designing, selling, and distributing Actos™ without thorough and
                          adequate pre and post-market testing of the product;

                   b.     Manufacturing, producing, promoting, advertising, formulating, creating,
                          developing, and designing, and distributing Actos™ while negligently and
                          intentionally concealing and failing to disclose clinical data which
                          demonstrated the risk of serious harm associated with the use of Actos™;

                   c.     Failing to undertake sufficient studies and conduct necessary tests to
                          determine whether or not Actos™ was safe for its intended use;

                   d.     Failing to disclose and warn of the product defect to the regulatory
                          agencies, the medical community, and consumers that Defendants knew
                          and had reason to know that Actos™ was indeed unreasonably unsafe and
                          unfit for use by reason of the product’s defect and risk of harm to its users
                          in the form of, but not limited to, the development of bladder cancer;

                   e.     Failing to warn Plaintiff, the medical and healthcare community, and
                          consumers that the product’s risk of harm was unreasonable and that there
                          were safer and effective alternative Type II diabetic medications available
                          to Plaintiff and other consumers;

                   f.     Failing to provide adequate instructions, guidelines, and safety precautions

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                     to those persons to whom it was reasonably foreseeable would prescribe,
                     use, and consume Actos™;

              g.     Advertising, marketing, and recommending the use of Actos™, while
                     concealing and failing to disclose or warn of the dangers known by
                     Defendants to be connected with, and inherent in, the use of Actos™;

              h.     Representing that Actos™ was safe for its intended use when in fact
                     Defendants knew and should have known the product was not safe for its
                     intended purpose;

              i.     Failing to disclose to and inform the medical community and consumers
                     that other forms of safer and effective alternative Type II diabetic
                     medications were available for use for the purpose for which Actos™ was
                     manufactured;

              j.     Continuing to manufacture and sell Actos™ with the knowledge that
                     Actos™ was unreasonably unsafe and dangerous;

              k.     Failing to use reasonable and prudent care in the design, research,
                     manufacture, and development of Actos™ so as to avoid the risk of
                     serious harm associated with the use of Actos™;

              l.     Failing to design and manufacture Actos™ so as to ensure the drug was at
                     least as safe and effective as other Type II diabetic medications;

              m.     Failing to ensure the product was accompanied by proper and accurate
                     warnings about possible adverse side effects associated with the use of
                     Actos™ and that use of Actos™ created a high risk of developing bladder
                     cancer;

              n.     Failing to conduct adequate testing, including pre-clinical and clinical
                     testing, and post-marketing surveillance to determine the safety of
                     Actos™.

              o.     Failing to communicate to the FDA, Plaintiff, physicians, distributors,
                     pharmacists, and/ or the general public that the use of this drug could
                     cause serious injury and/or death


       95.    As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a




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personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

          WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

          a.       For a money judgment representing all pain and suffering and wrongful death

damages;

          b.       For a money judgment representing all lost wages and all economic loss;

          c.       For a money judgment representing prejudgment interest;

          d.       For such other and further relief as may be just and proper.


                              EIGHTH CAUSE OF ACTION
                  (BREACH OF EXPRESS WARRANTY - AS AGAINST THE TAKEDA
                                     DEFENDANTS)

          96.      Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.

          97.      The Takeda defendants expressly warranted that Actos was safe and well

accepted by users.

          98.      Actos does not conform to these express representations because Actos is not safe

and has numerous serious side effects, many of which were not accurately warned about by the

Takeda defendants.

          99.      As a direct and proximate result of the breach of said warranties, Plaintiff suffered

and will continue to suffer severe and permanent personal injuries, harm and economic loss.

          100.     Plaintiff did rely on the express warranties of the Takeda defendants herein.




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       101.     Members of the medical community, including physicians and other healthcare

professionals, relied upon the representations and warranties of the Defendants for use of Actos

in recommending, prescribing and dispensing Actos.

       102.     The Takeda defendants herein breached the aforesaid express warranties, as their

drug Actos was defective.

       103.     Takeda defendants expressly represented to Plaintiff, Plaintiff’s physicians,

healthcare providers, and the FDA that Actos was safe and fit for use for the purposes intended,

that it was of merchantable quality, that it did not produce any dangerous side effects in excess of

those risks associated with other forms of treatment for reducing and controlling the blood sugar

of patients with type II diabetes.

       104.     Takeda defendants knew or should have known that, in fact, said representations

and warranties were false, misleading and untrue in that Actos was not safe and fit for the use

intended, and, in fact, produced serious injuries to the users that were not accurately identified

and represented by Takeda defendants.

       105.     As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a

personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

       WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

       a.       For a money judgment representing all pain and suffering and wrongful death

damages;

       b.       For a money judgment representing all lost wages and all economic loss;

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          c.       For a money judgment representing prejudgment interest;

          d.       For such other and further relief as may be just and proper.


                              NINTH CAUSE OF ACTION
                (BREACH OF EXPRESS WARRANTY - AS AGAINST THE ELI LILLY
                                   DEFENDANTS)

          106.     Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.

          107.     The Eli Lilly defendants expressly warranted that Actos was safe and well

accepted by users, particularly during their marketing and promotional campaign for the Actos

drug.

          108.     Actos does not conform to these express representations because Actos is not safe

and has numerous serious side effects, many of which were not accurately warned about by the

Takeda defendants.

          109.     As a direct and proximate result of the breach of said warranties, Plaintiff suffered

and will continue to suffer severe and permanent personal injuries, harm and economic loss.

          110.     Plaintiff and her physicians did rely on the express warranties of the Eli Lilly

defendants herein.

          111.     Members of the medical community, including physicians and other healthcare

professionals, relied upon the representations and warranties of the Eli Lilly defendants for use

of Actos in recommending, prescribing and dispensing Actos.

          112.     The Eli Lilly defendants herein breached the aforesaid express warranties, as their

drug Actos was defective.

          113.     Eli Lilly defendants expressly represented to Plaintiff, Plaintiff’s physicians,

healthcare providers, and the FDA that Actos was safe and fit for use for the purposes intended,
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that it was of merchantable quality, that it did not produce any dangerous side effects in excess of

those risks associated with other forms of treatment for reducing and controlling the blood sugar

of patients with type II diabetes.

          114.     Eli Lilly defendants knew or should have known that, in fact, said representations

and warranties were false, misleading and untrue in that Actos was not safe and fit for the use

intended, and, in fact, produced serious injuries to the users that were not accurately identified

and represented by Takeda defendants.

          115.     As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a

personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

          WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

          a.       For a money judgment representing all pain and suffering and wrongful death

damages;

          b.       For a money judgment representing all lost wages and all economic loss;

          c.       For a money judgment representing prejudgment interest;

          d.       For such other and further relief as may be just and proper.


                              TENTH CAUSE OF ACTION
                (BREACH OF IMPLIED WARRANTIES - AS AGAINST THE TAKEDA
                                   DEFENDANTS)

          116.     Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.



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        117.    At all times herein mentioned, the Takeda Defendants manufactured,

compounded, portrayed, distributed, recommended, merchandized, advertised, promoted and

sold Actos and have recently acquired the Takeda Defendants who have manufactured,

compounded, portrayed, distributed, recommended, merchandized, advertised, promoted and

sold Actos to reduce and control blood sugar in type II diabetic patients.

        118.    At the time Takeda Defendants marketed, sold and distributed Actos for use by

Plaintiff, the Takeda Defendants knew of the use for which Actos was intended and impliedly

warranted the product to be of merchantable quality and safe and fit for such use.

        119.    The Takeda Defendants impliedly represented and warranted to the users of Actos

and their physicians, healthcare providers, and the FDA that Actos was safe and of merchantable

quality and fit for the ordinary purpose for which said product was to be used.

        120.    That said representations and warranties aforementioned were false, misleading

and inaccurate in that Actos was unsafe, unreasonably dangerous, improper, not of merchantable

quality and defective.

        121.    Plaintiff and members of the medical community and healthcare professions did

rely on said implied warranty of merchantability of fitness for a particular use and purpose.

        122.    Plaintiff and Plaintiff’s physicians and healthcare professionals reasonably relied

upon the skill and judgment of Defendants as to whether Actos was of merchantable quality and

safe and fit for its intended use.

        123.    Actos was placed into the stream of commerce by the Takeda Defendants in a

defective, unsafe, and inherently dangerous condition and the products and materials were

expected to and did reach users, handlers, and persons coming into contact with said products

without substantial change in the condition in which they were sold.

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          124.     The Takeda Defendants herein breached the aforesaid implied warranties, as their

drug Actos was not fit for its intended purposes and uses.

          125.     As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a

personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

          WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

          a.       For a money judgment representing all pain and suffering and wrongful death

damages;

          b.       For a money judgment representing all lost wages and all economic loss;

          c.       For a money judgment representing prejudgment interest;

          d.       For such other and further relief as may be just and proper.


                             ELEVENTH CAUSE OF ACTION
                (BREACH OF IMPLIED WARRANTIES - AS AGAINST THE ELI LILY
                                    DEFENDANTS)

          126.     Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.

          127.     At all times herein mentioned, the Eli Lilly Defendants manufactured,

compounded, portrayed, distributed, recommended, merchandized, advertised, promoted and

sold Actos and have recently acquired the Eli Lilly Defendants who have manufactured,

compounded, portrayed, distributed, recommended, merchandized, advertised, promoted and

sold Actos to reduce and control blood sugar in type II diabetic patients.



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        128.    At the time Eli Lilly Defendants marketed, sold and distributed Actos for use by

Plaintiff, Eli Lilly Defendants knew of the use for which Actos was intended and impliedly

warranted the product to be of merchantable quality and safe and fit for such use.

        129.    The Eli Lilly Defendants impliedly represented and warranted to the users of

Actos and their physicians, healthcare providers, and the FDA that Actos was safe and of

merchantable quality and fit for the ordinary purpose for which said product was to be used.

        130.    Eli Lilly sent employees and agents to market and promote the Actos product,

despite its knowledge of the risk of bladder cancer relating to Actos.

        131.    That said representations and warranties aforementioned were false, misleading

and inaccurate in that Actos was unsafe, unreasonably dangerous, improper, not of merchantable

quality and defective.

        132.    Plaintiff and members of the medical community and healthcare professions did

rely on said implied warranty of merchantability of fitness for a particular use and purpose.

        133.    Plaintiff and Plaintiff’s physicians and healthcare professionals reasonably relied

upon the skill and judgment of Defendants as to whether Actos was of merchantable quality and

safe and fit for its intended use.

        134.    Actos was placed into the stream of commerce by the Eli Lilly Defendants in a

defective, unsafe, and inherently dangerous condition and the products and materials were

expected to and did reach users, handlers, and persons coming into contact with said products

without substantial change in the condition in which they were sold.

        135.    The Eli Lilly Defendants herein breached the aforesaid implied warranties, as

their drug Actos was not fit for its intended purposes and uses.




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          136.     As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a

personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

          WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

          a.       For a money judgment representing all pain and suffering and wrongful death

damages;

          b.       For a money judgment representing all lost wages and all economic loss;

          c.       For a money judgment representing prejudgment interest;

          d.       For such other and further relief as may be just and proper.


                            TWELFTH CAUSE OF ACTION
                 (NEGLIGENCE PER SE - AS AGAINST THE TAKEDA DEFENDANTS)

          137.     Plaintiff incorporates and reasserts the allegations above as if fully set forth

herein.

          138.      As part of their duty to exercise reasonable care for the safety of persons,

including Plaintiff, who would be expected to use their products, the Takeda defendants were

obliged to follow public laws and regulations enacted and promulgated to protect the safety of

such persons, including 21 U.S.C. 331(a) and 352, and other statutes and regulations, which

make it unlawful to misbrand prescription drug products.

          139.      The package inserts (and other labeling, if any) for each of the Actos products

failed to conform to the requirements of 21 U.S.C. §352, including subsections (a), (c), and (f),

or the requirements of 21 C.F.R. § 201.100(c)(1), and, therefore, violated 21 U.S.C. § 331(a),


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as the package inserts and/or other labeling failed to contain, inter alia, information, including

warnings and instructions for use, adequate to enable the use of Actos in an ordinary,

foreseeable, and intended manner that was reasonably safe, taking into account the potential

benefits and potential risks entailed in such use, or to bear “information for its use, including...

any relevant hazards, contraindications, side effects, and precautions” that were adequate to

enable doctors to “use the drug safely and for the purposes for which it is intended”; and, in

addition, contained false, inaccurate, and/or misleading statements concerning their respective

products’ side effects.

       140.     With respect to the prescription drug Actos, the Takeda defendants, have or may

have failed to comply with all federal standards applicable to the sale of prescription drugs

including, but not limited to, one or more of the following violations:

       a)       The prescription drug Actos is adulterated pursuant to 21 U.S.C. § 351
                because, among other things, it fails to meet established performance
                standards, and/or the methods, facilities, or controls used for its
                manufacture, packing, storage or installation is not in conformity with
                federal requirements. See, 21 U.S.C. § 351.

       b)       The prescription drug Actos is adulterated pursuant to 21 U.S.C. § 351
                because, among other things, its strength differs from or its quality or
                purity falls below the standard set forth in the official compendium for
                ACTOS and such deviations are not plainly stated on their labels.

       c)       The prescription drug Actos is misbranded pursuant to 21 U.S.C. §352
                because, among other things, its labeling is false or misleading.

       d)       The prescription drug Actos is misbranded pursuant to 21 U.S.C. §352
                because words, statements, or other information required by or under
                authority of chapter 21 U.S.C. § 352 are not prominently placed thereon
                with such conspicuousness and in such terms as to render it likely to be
                read and understood by the ordinary individual under customary
                conditions of purchase and use.

       e)       The prescription drug Actos is misbranded pursuant to 21 U.S.C. §352
                because the labeling does not bear adequate directions for use, and/or the

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          labeling does not bear adequate warnings against use where its use may
          be dangerous to health or against unsafe dosage or methods or duration of
          administration or application, in such manner and form as are necessary
          for the protection of users.

f)        The prescription drug Actos is misbranded pursuant to 21 U.S.C. §352
          because it is dangerous to health when used in the dosage or manner, or
          with the frequency or duration prescribed, recommended, or suggested in
          the labeling thereof.

g)        The prescription drug Actos does not contain adequate directions for use
          pursuant to 21 CFR § 201.5, because, among other reasons, of omission,
          in whole or in part, or incorrect specification of (a) statements of all
          conditions, purposes, or uses for which it is intended, including
          conditions, purposes, or uses for which it is prescribed, recommended or
          suggested in their oral, written, printed, or graphic advertising, and
          conditions, purposes, or uses for which the drugs are commonly used, (b)
          quantity of dose, including usual quantities for each of the uses for which
          it is intended and usual quantities for persons of different ages and
          different physical conditions, (c) frequency of administration or
          application, (d) duration or administration or application, and/or (d) route
          or method of administration or application, or uses for which it is
          intended, including conditions, purposes, or uses for which it is
          prescribed, recommended or suggested in their oral, written, printed, or
          graphic advertising, and conditions, purposes, or uses for which the drugs
          are commonly used, (b) quantity of dose, including usual quantities for
          each of the uses for which it is intended and usual quantities for persons
          of different ages and different physical conditions, (c) frequency of
          administration or application, (d) duration or administration or
          application, and/or (d) route or method of administration or application;

h)        The Takeda defendants violated 21 CFR § 201.56 because the labeling
          was not informative and accurate.

i)        The prescription drug Actos is misbranded pursuant to 21 CFR §201.56
          because the labeling was not updated as new information became
          available that caused the labeling to become inaccurate, false, or
          misleading.

j)        The Takeda defendants violated 21 CFR § 201.57 by failing to provide
          information that is important to the safe and effective use of the drug
          including the potential of Actos’ cause and the need for regular and/or
          consistent cardiac monitoring to ensure that a potential fatal cardiac
          arrhythmia has not developed.



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k)        The Takeda defendants violated 21 CFR § 201.57 because they failed to
          identify specific tests needed for selection or monitoring of patients who
          took the prescription drug Actos.

l)        The Takeda defendants violated 21 CFR § 201.57 because the safety
          considerations regarding the prescription drug Actos are such that the
          drug should be reserved for certain situations, and the Defendants failed
          to state such information.

          The prescription drug Actos is mislabeled pursuant to 21 CFR §201.57
          because the labeling fails to describe serious adverse reactions and
          potential safety hazards, limitations in use imposed by it, and steps that
          should be taken if they occur.

m)        The prescription drug Actos is mislabeled pursuant to 21 CFR §201.57
          because the labeling was not revised to include a warning as soon as there
          was reasonable evidence of an association of a serious hazard with the
          drug.

n)        The Takeda defendants violated 21 CFR § 201.57 because the labeling
          failed to list the adverse reactions that occur with the prescription drug
          Actos and other drugs in the same pharmacologically active and
          chemically related class.

o)        The Takeda defendants violated 21 CFR § 201.57 because the possibility
          that a patient could develop Cardiac Arrhythmia significantly more
          severe than the other reactions listed in the adverse reactions, and yet the
          Defendants failed to list the development of Cardiac Arrhythmia before
          the other adverse reactions on the labeling of the prescription drug Actos.

p)        The prescription drug Actos is mislabeled pursuant to 21 CFR §201.57
          because the labeling does not state the recommended usual dose, the
          usual dosage range, and, if appropriate an upper limit beyond which
          safety and effectiveness have not been established.

q)        The prescription drug Actos violates 21 CFR § 210.1 because the process
          by which it was manufactured, processed, and/or held fails to meet the
          minimum current good manufacturing practice of methods to be used in,
          and the facilities and controls to be used for, the manufacture, packing, or
          holding of a drug to assure that it meets the requirements as to safety,
          have the identity and strength, and meets the quality and purity
          characteristic that they purport or are represented to possess.




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r)        The prescription drug Actos violates 21 CFR § 210.122 because the
          labeling and packaging materials do not meet the appropriate
          specifications.

s)        The prescription drug Actos violates 21 CFR §211.165 because the test
          methods employed by the Takeda defendants are not accurate, sensitive,
          specific, and/or reproducible and/or such accuracy, sensitivity,
          specificity, and/or reproducibility of test methods have not been properly
          established and documented.

t)        The prescription drug Actos violates 21 CFR § 211.165 in that the
          prescription drug ACTOS fails to meet established standards or
          specifications and any other relevant quality control criteria.

u)        The prescription drug Actos violates 21 CFR §211.198 because the
          written procedures describing the handling of all written and oral
          complaints regarding the prescription drug Actos were not followed.

v)        The prescription drug Actos violates 21 CFR § 310.303 in that the
          prescription drug Actos is not safe and effective for its intended use.

w)        The Takeda defendants violated 21 CFR § 310.303 because the
          Defendants failed to establish and maintain records and make reports
          related to clinical experience or other data or information necessary to
          make or facilitate a determination of whether there are or may be grounds
          for suspending or withdrawing approval of the application to the FDA.

x)        The Takeda defendants violated 21 CFR §§310.305 and 314.80 by failing
          to report adverse events associated with the prescription drug Actos as
          soon as possible or at least within 15 days of the initial receipt by the
          Defendants of the adverse drugs experience.

y)        The Takeda defendants violated 21 CFR §§310.305 and 314.80 by failing
          to conduct an investigation of each adverse event associated with the
          prescription drug Actos, and evaluating the cause of the adverse event.

z)        The Takeda defendants violated 21 CFR §§ 310.305 and 314.80 by
          failing to promptly investigate all serious, unexpected adverse drug
          experiences and submit follow-up reports within the prescribed 15
          calendar days of receipt of new information or as requested by the FDA.

aa)       The Takeda defendants violated 21 CFR §§ 310.305 and 314.80 by
          failing to keep records of the unsuccessful steps taken to seek additional
          information regarding serious, unexpected adverse drug experiences.



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       bb)      The Takeda defendants violated 21 CFR §§ 310.305 and 314.80 by
                failing to identify the reports they submitted properly, such as by labeling
                them as “15-day Alert report,” or “15-day Alert report follow-up.”

       cc)      The Takeda defendants violated 21 CFR § 312.32 because they failed to
                review all information relevant to the safety of the prescription drug
                Actos or otherwise received by the Defendants from sources, foreign or
                domestic, including information derived from any clinical or
                epidemiological investigations, animal investigations, commercial
                marketing experience, reports in the scientific literature, and unpublished
                scientific papers, as well as reports from foreign regulatory authorities
                that have not already been previously reported to the agency by the
                sponsor.

       dd)      The Takeda defendants violated 21 CFR § 314.80 by failing to provide
                periodic reports to the FDA containing (a) a narrative summary and
                analysis of the information in the report and an analysis of the 15-day
                Alert reports submitted during the reporting interval, (b) an Adverse
                Reaction Report for each adverse drug experience not already reported
                under the Post marketing 15-day Alert report, and/or (c) a history of
                actions taken since the last report because of adverse drug experiences
                (for example, labeling changes or studies initiated).

       ee)      The Takeda defendants violated 21 CFR § 314.80 by failing to submit a
                copy of the published article from scientific or medical journals along
                with one or more 15-day Alert reports based on information from the
                scientific literature.

       141.     Accordingly, the Takeda defendants, in distributing the Actos products labeled

in violation of these statutes and associated regulations, were negligent per se, that is,

negligent as a matter of law.

       142.    As a direct and proximate result of one or more of the above-stated negligent acts,

Plaintiff developed and was diagnosed with bladder cancer. Plaintiffs have suffered injury of a

personal and pecuniary nature, including pain and suffering, medical expenses, lost income, and

loss of consortium.

       WHEREFORE, Plaintiffs hereby demand a trial by jury and judgment against the

Defendants, as follows:

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       a.       For a money judgment representing all pain and suffering and wrongful death

damages;

       b.       For a money judgment representing all lost wages and all economic loss;

       c.       For a money judgment representing prejudgment interest;

       d.       For such other and further relief as may be just and proper.



       WHEREFORE, Plaintiffs demands judgment against each of the Defendants jointly and

severally for such sums, including, but not limited to prejudgment and post-judgment interest, as

would be necessary to compensate the Plaintiffs for the injuries Plaintiffs have and will suffer.

Plaintiffs further demand judgment against each of the Defendants for punitive damages.

Plaintiffs further demand payment by each of the Defendants jointly and severally of the costs

and attorney fees of this action. Plaintiffs further demand payment by each Defendant jointly

and severally of interest on the above and such other relief as the Court deems just.


       Dated: June 20, 2019

       MARY SZARKOWSKI,
                                      By their attorneys:

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